         Case 4:15-cr-00060 Document 48 Filed on 02/20/15 in TXSD Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §           CRIMINAL NO. H-15-060
                                                      §
KWHUN DOMINIQUE JOHNSON                               §

                              ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant waived his right to a detention hearing. That waiver is entered in
the record as Dkt. No. 47. I conclude that the following facts are established by a preponderance of
the evidence and require the detention of the defendant pending trial in this case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.

           [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                   combination of conditions will reasonably assure the safety of any other person and the
                   community. I further find that the defendant has not rebutted this presumption.
      Case 4:15-cr-00060 Document 48 Filed on 02/20/15 in TXSD Page 2 of 3




[]      B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [ ] (1) There is probable cause to believe that the defendant has committed an offense

                      []      for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []      under 18 U.S.C. § 924(c).

        [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
                condition or combination of conditions will reasonably assure the appearance of the
                defendant as required and the safety of the community.

[x]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [x] (1) Defendant is accused of aiding and abetting bank robbery in violation of 18 U.S.C.
                § 2113.

        [x] (2) There is a serious risk that the defendant will flee.

        [x ] (3) Defendant is a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[x]     D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [x] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                § 3142(c) which will reasonably assure the appearance of the defendant as required.

        [x] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                § 3142(c) which will reasonably assure the safety of any other person or the
                community.

                              Written Statement of Reasons for Detention

        I find that the accusations in the indictment and the information in the Pretrial Services report
establish by a preponderance of the evidence that no condition or combination of conditions will
reasonably assure the appearance of the defendant as required and by clear and convincing evidence
that there is no condition or combination of conditions of release which would reasonably assure the

                                                   2
      Case 4:15-cr-00060 Document 48 Filed on 02/20/15 in TXSD Page 3 of 3



safety of the community. .

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant, a 22-year old lifelong resident of Houston, is currently incarcerating in
                Harris County Jail on a pending case. Prior to his arrest he lived with grandmother,
                who raised him. He has no contact with his father and biweekly contact with his
                mother. He is unmarried and has no children. He has no history of employment.

        2.      Defendant has a lengthy criminal history including a felony conviction for
                unauthorized use of a vehicle, burglary, and theft; misdemeanor convictions for
                possession of marijuana, assault with injury to a family member, evading arrest, failure
                to give ID, and trespass; and arrests for aggravated robbery, assault, and traffic
                violations. He currently faces state felony charges of assault with bodily injury of a
                family member, and burglary.

        3.      Defendant is accused of aiding and abetting bank robbery in violation of 18 U.S.C.
                § 2113. He faces a penalty of up to 25 years in jail.
.
        4.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant or the safety of the community. Detention is ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on February 20, 2015.




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